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Leu fees of Ning Yo, Cay

135-11 38" Avenue, #1A, Flushing, NY 11354
TEL: 718-308-6626; 301641-7345 (Cell) « FAX: (718) 228-5816 « E-MAIL: ynyale@aol.com

January 10, 2023

The Hon. Clerk

U.S. Bankruptcy Court for the District of Connecticut ome
Bridgport Division rocks BS
McMahon Federal Building we TE
915 Lafayette Boulevard ie
Bridgeport, CT 06604. a PN

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Notice of Troy Law LPLLC’s Knowing Frauds Upon the Court
Matter of Ho Wan Kwok, aka, Wengui Guo (22-50073)

Dear Clerk:

This undersigned respectfully notifies this Honorable Court that the Court’s ECF
Docketing Number 1006 being fraudulently filed on October 20, 2022, by John
Troy, Esq. (CT-30804) of the Troy Law PLLC allegedly as the “attorney for Creditor
Ning Ye” (See Group Exhibit 1) , is a fraudulent misrepresentation, and must be
immediately removed from this Court’s ECF docket. The Fraudster, namely, John
Troy, Esq., (CT -30804) must be compelled to file correctional statement to this Court
together with an official apology to the undersigned the victim.

This undersigned represents defendants in a so-called FLSA Federal Labor Dispute
case with the U.S. District of Southern District of New York (Case #19-11881), while
John Troy, Esq., and his firm, Troy Law LLC, represent the Plaintiff, an on-and-off
unlicensed “masseur” Mr. Yongbiao Ji, a lone “victim” in what Mr. Troy staged as a
“class action”, his habitual practice mode, in a long line of his specialty case loads
exclusively biting upon U.S. small, or dissolved industry. Both parties have been in
persistent tension of adversary relation. In August 2022, having smelled potential
chance of attempted sharing of fortune, Mr. Troy launched phoning and emailing
soliciting this undersigned to retain him and his law firm to represent this undersigned
in this instant bankruptcy case (Exhibit 2), regardless the fact that Troy Law PLLC
was representing the Plaintiff and Ning Ye represents the Defendants in a neck to
neck fighting in a so-called “Federal Labor dispute” case in New York. Mr. Troy’s
lobby and solicitation is flatly declined by this undersigned in the sense of justice and
professional ethics. After the Troy Law PLLC’s unethical attempt failed in August
2022, this undersigned found the Firm, on October 20, 2022, filed Document 1006
with this Honorable Court, in this Court's open to public ECF docket, stating that

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John Troy Esq. (CT-30804) and his firm, Troy Law PLLC, represent “Creditor Ning
Ye as the Jatter’s “Attorney” in the case of 22-50073.

Troy Law PLLC’s such manifest of declaration to the public that its being the
“attorney” for this undersigned is completely unknown, concealed, un-notified,
unauthorized and fraudulent to this undersigned as well as to all related courts, when
it was done. Such a contaminating public statement depicting such an immorality
against public image of this undersigned, given to the publicity of this closely
watched instant case involving a worldly infamous figure of the headline by the media
from time to time has caused enormous harmful damages upon the “double dealer” of
this undersigned. More ridiculously, such knowing wrongdoer as Mr. John Troy
(CT-30804) and his firm has taken no correctional efforts to clean up the grounds, and
leaving the tainted record in this Court’s publicly accessible ECF docket unchanged
as is as of this date.

This letter is therefore formerly issued, praying for investigation and corrections by
this Honorable Court. Should you have any instruction or advice, please kindly let me
know at your earliest convenience. Your prompt attention to this matter is greatly
appreciated.

Very truly yours,

- /s/Ning Ye, Esq. /

Enclosures: Exhibit | and 2

Express Mail with Return Ticket: EI475983405US
cc. Troy Law PLLC

Chamber of the Hon. Vincent Breccitti

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Exhibit

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DISTRICT COURT OF ME
In re: .
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Ho Wan Kwok won. Case Muyrey. 27-8007°

NOTICE OF APPEARANCE ©. COUNSEL AND DEMAND SOR SURSICS CI
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Dated: August 24, 2022
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through the Court's CM/ECF system

Dateo: October 20, 2022
Flushing, New Yors

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UNITED STATES BANKRUPTCY COURT
DISTRICT COURT OF CONNECTICUT

Chapter:11
Case Number: 22-50073

NOTICE OF APPEARANCE, REQUEST FOR NOTICES AND DEMAND FOR
SERVICE OF PAPERS

To the Clerk of this Court and all parties of record:

Please enter the appearance of John Troy. Esq. of Troy Law, PLLC as counsel for
Creditor NING YE in the above-referenced bankruptcy proceeding. and hereby requests,
pursuant to } 1) U.S.C. 1 109(b) and Rules 2002. 9007, 9010(b} and 9013 of the Federal
Rules of Bankruptey Procedure that a true, complete and accurate copy of each and every

notice given or required to he given in this case and all pleadings, motions, and applicauons
served or required to be served in this case be given to and served upon the undersigned.

Teertify that Tam admitted and authorized to practice in this Court.

Dated: August 24. 2022
Flushing. New York

TROY LAW, PLLC

By: /s/ John Troy
John Troy, Esq. (CT-30804 }
Acorneys for Creditaur Nig Ye
41-25 Kissena Blvd.. Suite 103
Flushing. NY |1355
Tel: (718) 762-1324
Fax: (718) 762-1342

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CERTIFICATE OF SERVICE

I, John Troy. hereby certify that a copy of the foregoing Notice of Appearance was fled

electronically with the Court on August 24, 2022. Notice of this filing will be sent by e-mail to

all parties by operation of the court’s electronic filing system. Parties may access tis filing

through the Court's CM/ECF system.

Dated: August 24. 2022
Flushing, New York

TROY LAW, PLLC

By: ‘s/ John Troy
John Troy, Esq. (CT-30804)
Attorneys for Creditor Ning Ye

